        Case 20-14404-elf                  Doc 25 Filed 02/14/21 Entered 02/15/21 00:46:36                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 20-14404-elf
Adam Samuel Kramer                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 12, 2021                                               Form ID: 318                                                              Total Noticed: 20
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 14, 2021:
Recip ID                 Recipient Name and Address
db                     + Adam Samuel Kramer, 123 Yellowstone Road, Plymouth Meeting, PA 19462-1827
14559737                 Equifax Credit Information Services, Inc, P.O. Box 740256, Atlanta, GA 30374-0256
14559738               + Experian, P.O. Box 9701, Allen, TX 75013-9701
14559739                 Experian Information Systems, Attn: Dispute Department, P.O. Box 2002, Allen, TX 75013-2002
14559744                 H.A. Berkheimer Tax Administrator, Bankruptcy Notices, 50 North 7th Street, Bangor, PA 18013-1798
14559740               + Innovis Data Solutions, 250 E. Town St., Columbus, OH 43215-4631
14559732               + Joseph D. Lento, Esquire, 1500 Walnut Street, Suite 500, Philadelphia, PA 19102-3503
14559733                 Kevin Cornish, Esquire, 40 East Airy Street, Norristown, PA 19401-4803
14559734               + Laurie Crus, as Administrator of Estate of Murray, 13112 Aliso Beach, Delray Beach, FL 33446-5637
14559745               + Montgomery County Tax Claim Bureau, P.O. Box 190, Norritown PA 19404-0190
14559746               + Office of the Prothonotary, Montgomery County Courthouse, P.O. Box 311, Norristown, PA 19404-0311
14559736               + Stewart Kramer & Valerie Conicello, 123 Yellowstone Road, Plymouth Meeting, PA 19462-1827
14559743               + Transunion Corporation, 2 Baldwinm Place, P.O. Box 1000, Chester, PA 19016-1000

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
tr                        EDI: BTPDERSHAW.COM
                                                                                        Feb 13 2021 04:23:00      TERRY P. DERSHAW, Dershaw Law Offices,
                                                                                                                  P.O. Box 556, Warminster, PA 18974-0632
smg                       Email/Text: megan.harper@phila.gov
                                                                                        Feb 13 2021 01:39:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                       EDI: PENNDEPTREV
                                                                                        Feb 13 2021 04:23:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                       Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Feb 13 2021 00:41:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                    + Email/Text: usapae.bankruptcynotices@usdoj.gov
                                                                                        Feb 13 2021 00:42:00      U.S. Attorney Office, c/o Virginia Powel, Esq.,
                                                                                                                  Room 1250, 615 Chestnut Street, Philadelphia, PA
                                                                                                                  19106-4404
14559741                  EDI: IRS.COM
                                                                                        Feb 13 2021 04:23:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operation, P.O. Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
14559735                  EDI: NAVIENTFKASMSERV.COM
                                                                                        Feb 13 2021 04:23:00      Navient Solutions, P.O. Box 9655, Wilkes Barre,
                                                                                                                  PA 18773-9655
14559742                  EDI: PENNDEPTREV
                                                                                        Feb 13 2021 04:23:00      PA Department Of Revenue, Attn: Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
14559742                  Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Feb 13 2021 00:41:00      PA Department Of Revenue, Attn: Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
        Case 20-14404-elf                Doc 25 Filed 02/14/21 Entered 02/15/21 00:46:36                                        Desc Imaged
                                               Certificate of Notice Page 2 of 4
District/off: 0313-2                                              User: admin                                                             Page 2 of 2
Date Rcvd: Feb 12, 2021                                           Form ID: 318                                                          Total Noticed: 20
TOTAL: 9


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 14, 2021                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 11, 2021 at the address(es) listed
below:
Name                             Email Address
KEVIN B. CORNISH
                                 on behalf of Creditor Valerie Conicello kcornish@highswartz.com mdrevyanko@highswartz.com

KEVIN B. CORNISH
                                 on behalf of Creditor Stewart Kramer kcornish@highswartz.com mdrevyanko@highswartz.com

MICHAEL W. GALLAGHER
                                 on behalf of Debtor Adam Samuel Kramer mwglaw@msn.com mwglaw1@verizon.net

TERRY P. DERSHAW
                                 td@ix.netcom.com PA66@ecfcbis.com;7trustee@gmail.com

United States Trustee
                                 USTPRegion03.PH.ECF@usdoj.gov


TOTAL: 5
   Case 20-14404-elf                    Doc 25 Filed 02/14/21 Entered 02/15/21 00:46:36                             Desc Imaged
                                              Certificate of Notice Page 3 of 4

Information to identify the case:
Debtor 1
                       Adam Samuel Kramer                                          Social Security number or ITIN   xxx−xx−8438
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Eastern District of Pennsylvania

Case number:          20−14404−elf

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Adam Samuel Kramer


             2/11/21                                                       By the court: Eric L. Frank
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




Official Form 318                                             Order of Discharge                                     page 1
  Case 20-14404-elf         Doc 25 Filed 02/14/21 Entered 02/15/21 00:46:36               Desc Imaged
                                  Certificate of Notice Page 4 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
